 

Case 1:19-mr-00644-LF Document 3 Filed 06/04/19 Page 1 of 4

AO 93 (Rev. 11/13) Search and Seizure Warrant

 

UNITED STATES DISTRICT COURT
for the
District of New Mexico [-]

    

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

    

i
‘ALA i

Case No. l4a-me- lof

wed

2221 Don Felipe Road SW,
Albuquerque, New Mexico

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the District of __ New Mexico
(identify the person or describe the property to be searched and give its location):

See Attachment A, attached hereto and incorporated herein by reference.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B, attached hereto and incorporated herein by reference.

YOU ARE COMMANDED to execute this warrant on orbefore = June 17,2019 (not to exceed 14 days)
@ in the daytime 6:00 a.m. to 10:00 p.m. (Vat any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to The Honorable Laura Fashing
(United States Magistrate Judge)

 

 

O Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

 

    

1 for days (not to exceed 30) until, the facts justifying, the later specific date of ae ee
/
Date and time issued: lo [G/L 7 @ a 4 fam 5 EN -
a’ /
City and state: ALBUQUERQUE, NEW MEXICO LAURA FASHI! G, U.S. MAGIST E

 

Printed name and title

 
Case 1:19-mr-00644-LF Document 3 Filed 06/04/19 Page 2 of 4

AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

14-MR- Gay 06:04:11 C G?OOAM | Tanya CHAver (mon) + MIKE VALN2MA

Inventory made in the presence of :

 

 

 

 

= f CAtort )
FBL sPecrar Atew7s 2 NHISP Aternts
Inventory of the property taken and name of any person(s) seized:
PROPERTY serZeD :

|. ONE oma) TACTICAL AR-IS Pis7oe (LeAdED) wiT/] 30-RovND AAG.,
2. owe AR-IS /00-RoYWD Rum meAbative,
3. sity (60) Lint BeuE 41-37 TABLETS - SUSPECTED FENTANYL,

uy. owe Piston RECEWER, veld OF SERIAL NuMBER ,
5. WE SPOT 123 CASING I Faont SEAT OF BrWw,

6. OWE HAn/DEeN Bur7srock fo&® Grock. PISTOL. ,
2 pMisce. ARewqnTHer,

g. MARI IeANA, fidpP

9. RikLE MACLAUWES for. AR-IS,

Pen goVS SEzED?

NATHANIEL VACENZUELA eID Rocer. VALENZUELA WERE _
ARESTED By Wels MEXIco STATE feicE ACENTS, ttt WERE
ON -Stele, AND Ciywecep WITH STATE Viol A7P2//s,

7

Atso fraetad j|URsuAWT yo
NATHANIE. VAartenzued Was
Tio Fetovy WARRANTS lS54ED sv BERNALILLO COUNTY, NM.

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

cae 4f4)/2019 A —

ecuting officer's signature

Bethel Kucc PBL steunr hearer

Prihted name and title

 

 

 
Case 1:19-mr-00644-LF Document 3 Filed 06/04/19 Page 3 of 4

ATTACHMENT A
Premises to be Searched

The Subject Premises is located at 2221 Don Felipe Road SW, Albuquerque, New Mexico, and may
be described as a single story residence with tan siding and greenish-blue trim. The numbers 2221 are
posted on the mailbox in front of the residence. Color photographs of the location are depicted below.
The search of the Subject Premises shall include the entire residence and all outbuildings, trash cans,
storage containers, and vehicles! parked at, or in front of, the Subject Premises.

 

   

VALENZUELA on the
phone in front of the
Subject Premises.

 
  

 

 

VALENZUELA entering
the Subject Premises.

 

 

 

' Only vehicles parked at the Subject Premises or in front of the premises and having an apparent
connection to the Subject Premises will be searched. Connection to the Subject Premises may be
established by way of prior law enforcement observation, vehicle registration, subject admission or
possession of an ignition key.

Attachment A
 

Case 1:19-mr-00644-LF Document 3 Filed 06/04/19 Page 4 of 4

ATTACHMENT B
Items to be Seized

All evidence of violations of 18 U.S.C. § 922(x)(2) Being a Juvenile in Possession of a Handgun,
18 U.S.C. § 924(c) Use of a Firearm in Furtherance of a Drug Trafficking Crime, 21 U.S.C. §
841(a)(1) Possession of Fentanyl with Intent to Distribute, 21 U.S.C. § 843(b) Use of a
Communication Facility to Facilitate a Drug Crime, and 21 U.S.C. § 846 Conspiracy to
Distribute Fentanyl, to include the following items:

1)

2)

3)

4)

5)

6)

d)

Controlled substances, including fentanyl; drug paraphernalia, scales, plastic bags, and
other packaging materials.

Evidence of drug trafficking: to include books, records, receipts, notes, ledgers, money
order receipts, money orders, money remittance receipts, pre-paid money cards such as
MoneyPak, Green Dot, Wal-Mart, or other debit cards, bulk United States currency and
other documents relating to transporting, ordering, purchasing, manufacturing, or
distribution of drugs.

Proceeds of drug trafficking: including currency, jewelry, and other assets or financial
records related thereto.

Firearms, ammunition, magazines, holsters, and items used to store firearms.

Cellular telephones and other digital devices, such as computers, laptops, tablets, PDAs
or similar electronic storage devices.

Articles of property tending to establish the identity of persons in control of premises,
vehicles, storage areas, and containers being searched, including utility company receipts,
rent receipts, addressed envelopes, and keys.

Safes, combinations or key-lock strong boxes or other secure storage containers,

Suitcases, locked cabinets and types of locked or closed containers, and hidden
compartments that may contain any of the foregoing.

Attachment B
